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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA

DEBTOR: LARRY D. DILLARD                                   *        CHAPTER 13 CASE
     SS#XXX-XX-3811                                        *         NUMBER:
        DARLENE DILLARD                                    *
     SS#XXX-XX-5257                                        *        __13-30073         __

                                           CHAPTER 13 PLAN

        1.      The future earnings of the Debtors are submitted to the supervision and control of the Trustee
and the Debtors shall pay to the Trustee the sum of $300.00 every week from the paycheck of Larry D. Dillard,
though his employer at Ostrom Boiler Service, 2124 Hudson Dr., Lilburn, Ga. 30047 by deducting the same
from his paycheck. (If the payments change over time include the following). The Debtor Darlene Dillard will
contribute the sum of $300.00 from each payment she receives from the Cherokee Nation.

        2.       From the payments so received, the Trustee shall make disbursements as follows:

        (a) The Trustee percentage fee as set by the United States Trustee.

        (b) The monthly payments will be made on the following long term debts: (payments which become
due after the filing of the Petition but before the month of the first payment designated here will be added to
the pre-petition arrearage claim.)

NAME OF CREDITOR                  MONTH OF FIRST PAYMENT                    MONTHLY PAYMENT
                                      UNDER PLAN                                AMOUNT




( c) Preconfirmation adequate protection payments will be made to the following secured creditors
and holders of executory contracts after the filing of a proof of claim by the creditor. These payments
will be applied to reduce the principal of the claim. Debtor has calculated this payments for one
month.

NAME OF CREDITOR                                           ADEQUATE PROTECTION AMOUNT
 Ally                                                   $400.00
 Ford Motor Credit Company                              $300.00
 GE Consumer Credit Company                             $35.00
 Rusty Repp                                             $50.00



(d) The following claims are not subject to cram down because debts are secured by a purchase
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money security interest in a vehicle for which the debt was incurred within 910 days of filing the
bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred
within 1 year of filing. See § 1325(a)

NAME OF                 AMOUNT                   INTEREST            COLLATERAL
MONTHLY                 DUE
CREDITOR                PAYMENT                  RATE




(e) After confirmation of the plan, the secured creditors with allowed claims will be paid as
follows:

NAME OF                 AMOUNT          VALUE            INTEREST COLLATERAL                MONTHLY
CREDITOR                DUE                              RATE                               PAYMENT
AMOUNT
 Ally              $11,000.00       $25,000.00        6.00%        2006 Ford F-350        $322.47
                                                                   Super Duty
 Ford Motor        $10,869.74       $6,450.00         6.00%        2005 Ford              $321.55
 Credit Co.                                                        Expedition
 GE                $800.00          $800.00           6.00%        Master Bedroom         $33.91
 Consumer                                                          suite &
 Credit                                                            Children’s Furn.
 Rusty Repp        $1,000.00        $1,000.00         6.00%        Shipping               $42.10
                                                                   Container



(f) Attorney’s fees of $3,000.00 of which $600.00 have been paid are ordered pursuant to 11 U.S.C.
Section 507(a)(2) and in Pursuant to the Administrative Order of January 20, 2011.

(g) After the above are paid, distributions will be made to cure arrearages and other secured debts
whose claims are duly proven and allowed as follows

NAME OF                 AMOUNT                   ESTIMATED             INTEREST COLLATERAL
COLLATERAL              DUE                      VALUE                   RATE
CREDITOR
 Homeward               $5,431.17           $150,000.00          6.00%           1620 Etchison Spur,
 Residential                                                                     Loganville, Ga.
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(h) The following collateral is surrendered to the creditor:
NAME OF CREDITOR                                   DESCRIPTION OF COLLATERAL
 Equiant Financial Services                           Week 27 of Cove II, Unit 608 BC
 .

(i) The following domestic support obligations will be paid over the life of the plan as follows:
(These payments will be made simultaneously with payment of the secured debt to the extent
funds are available and will include interest at the rate of ___%. (If this is left blank, no interest
will be paid.)
NAME OF CREDITOR                                        PAYMENT
                                                        AMOUNT
 None

(j) The following unsecured claims are classified to be paid at 100%. These payments will/will not
be made simultaneously with payment of the secured debt: None

(k) All other 11 U.S.C. § 507 priority claims, unless already listed under 2(g), will be paid in full over
the life of the plan as funds become available in the order specified by law.

(l) The Debtor(s) will be the disbursing agent on the following debts: Wells Fargo Home Mortgage

(m) Special provisions: The Debtors will contribute their 2013 Federal tax return refund, if any into
the plan.

       All creditors on secured debts are encouraged to send monthly billing statements to the
Debtors at the mailing address on record with the Bankruptcy Court.

          The Debtor Larry Dillard pays $21.59 monthly to Farm Bureau for life insurance pursuant to
his divorce decree. He has placed that information in this area since he does not believe that placing
it in (i) above would not make sense. Upon discharge all property not otherwise disposed of in the
plan or during the plan will revert to the Debtors.

        The Debtors upon making all payments due under the plan will receive the titles on all vehicles
currently being held as security without any additional surcharges or additional fees accruing against
the Debtors.

        The Debtors intend to strip the lien of the Brand Banking Co.

      (n) Debtor(s) will make payments that will meet all of the following parameters (these are not
cumulative, debtors will pay the highest of the three)
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       (i) Debtors will pay all of their disposable income as shown on Form B22C of $37,239.60
monthly to the non priority unsecured creditors in order to be eligible for a discharge.
       (ii) If the Debtors filed a Chapter 7 case, the unsecured creditors would receive $3,800.00.
Debtors will pay this amount to the priority and other unsecured creditors in order to be eligible for
discharge.
       (iii) The Debtors will pay $           to the general unsecured creditors to be distributed pro
rata.

(o) General unsecured creditors whose claims are duly proven and allowed will be paid
(choose one only)

        (a) ___% dividend as long as this dividend exceeds the highest amount, if any, shown in
paragraph (n)(i), (n)(ii) or (n)(iii), and the debtors pays in at least 36 monthly payments to be eligible
for discharge.

         (b) the debtor(s) will make payments for 57 months and anticipates a dividend of
approximately 27.5 %, but will also exceed the highest amount shown in paragraph (n)(i), (n)(ii) or
(n)(iii) above.

(p) Unless otherwise ordered by the Court, all property of the estate, whether in the possession of
the Trustee or the Debtor, remains property of the estate subject to the Court’s jurisdiction,
notwithstanding Section 1327(b), except as otherwise provided in Paragraph (m) above. Property
of the estate not paid to the Trustee shall remain in the possession of the Debtors. All property in the
possession and control of the Debtors shall be insured by the Debtors. The Chapter 13 Trustee will
not and is not required to insure assets and has no liability for injury to any person, damage or loss
to any property in possession and control of the Debtors or other property affected by property in
possession and control of the Debtors.

(q) Notwithstanding the proposed treatment or classification of any claim in the plan confirmed in this
case, all lien avoidance actions or litigation involving the validity of liens, or preference action will
be reserved and can be pursued after the confirmation of the plan. Successful lien avoidance or
preference actions will be grounds for modification of the plan.


Date: 01/17/2013                                          /s/Larry D. Dillard
                                                         Debtor- Larry D. Dillard



                                                         /s/Darlene Dillard
                                                         Debtor- Darlene Dillard
